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         Exhibit 20
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From:              Mike Pitkow
To:                Watnick, David (POR)
Subject:           FW: Lanterman
Date:              Thursday, March 13, 2025 9:57:22 AM
Attachments:       image001.jpg
                   image002.png




From: Mark Lanterman <mlanterman@compforensics.com>
Sent: Thursday, February 13, 2025 10:21 AM
To: Mike Pitkow <mpitkow@Springfieldpd.org>
Subject: Re: Lanterman


   Caution: This is an external email and has a suspicious subject or content. Please take
   care when clicking links or opening attachments. When in doubt, contact your IT
   Department


Perfect. Thank you.

No concerns at all.

Looking forward to seeing you!

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From: Mike Pitkow <mpitkow@Springfieldpd.org>
Sent: Thursday, February 13, 2025 9:13:37 AM
To: Mark Lanterman <mlanterman@compforensics.com>
Subject: RE: Lanterman

Mark,

Sure, how about 11:30 tomorrow, any concerns about the content from years ago?

From: Mark Lanterman <mlanterman@compforensics.com>
Sent: Thursday, February 13, 2025 7:05 AM
To: Mike Pitkow <mpitkow@Springfieldpd.org>
Subject: Re: Lanterman


   You don't often get email from mlanterman@compforensics.com. Learn why this is important



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   care when clicking links or opening attachments. When in doubt, contact your IT
   Department


Good morning. Would it be possible for me to stop by the station tomorrow to see it?

Get Outlook for iOS

From: Mike Pitkow <mpitkow@Springfieldpd.org>
Sent: Wednesday, February 12, 2025 3:24:22 PM
To: Mark Lanterman <mlanterman@compforensics.com>
Subject: RE: Lanterman

Good afternoon Mark,

Nice hearing from you, we still have your personnel file, in fact, we just made our list of files not to
retain, but we have always maintained files of employees who retired/resigned.

Feel free to give me a call tomorrow on my cell # 215-896-3448 to discuss further.

Best regards,

Mike

Michael E. Pitkow | Chief of Police
Springfield Township Police Department | Montgomery County
1510 Paper Mill Road | Wyndmoor, PA 19038
Phone: 215-836-1601 x1201 | Fax: 215-233-5018




From: Mark Lanterman <mlanterman@compforensics.com>
Sent: Wednesday, February 12, 2025 1:10 PM
To: Mike Pitkow <mpitkow@Springfieldpd.org>
Subject: Lanterman


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   care when clicking links or opening attachments. When in doubt, contact your IT
   Department
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Dear Chief Pitkow,

I hope this message finds you well. It has been quite some time since we last
connected, and I’ve enjoyed following the department’s updates on Facebook.

I have a quick question regarding my personnel jacket. I assume it has likely
been destroyed per the city’s document retention policy. Would you mind
confirming whether that is the case?

Thank you for your time, and I look forward to hearing from you.

Sincerely,

Mark


Mark Lanterman
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www.compforensics.com
